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                                                               Los Angeles, CA 90069                             Fax: (650) 618-0478
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                                                          7
                                                               Attorneys for Plaintiffs
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                                                          9                                  UNITED STATES DISTRICT COURT
                                                         10                              NORTHERN DISTRICT OF CALIFORNIA
                                                         11
                                                              STEVEN PRESCOTT and MIKE                               Case No.:
                          9255 Sunset Blvd., Suite 804




                                                         12   XAVIER, individually and on behalf of
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                                                              all others similarly situated,                         CLASS ACTION COMPLAINT
                                                         13
                                                                                Plaintiffs,
                                                         14                                                          1. VIOLATION OF CALIFORNIA
                                                                       v.                                               UNFAIR COMPETITION LAW,
                                                         15                                                             BUSINESS AND PROFESSIONS
                                                              BAYER HEALTHCARE                                          CODE § 17200, et. seq.
                                                         16   PHARMACEUTICALS INC., a
                                                              Delaware corporation; BAYER                            2. VIOLATION OF CALIFORNIA
                                                         17   HEALTHCARE LLC, a Delaware                                FALSE ADVERTISING LAW,
                                                              limited liability company; BAYER AG, a                    BUSINESS AND PROFESSIONS
                                                         18   public limited company; BEIERSDORF,                       CODE § 17500, et. seq.
                                                              INC., a Delaware corporation;
                                                         19   BEIERSDORF NORTH AMERICA,                              3. VIOLATION OF CALIFORNIA
                                                              INC., a Delaware corporation; and                         CONSUMERS LEGAL
                                                         20   BEIERSDORF AG, a public limited                           REMEDIES ACT, CIVIL CODE
                                                              company,                                                  § 1750, et. seq.
                                                         21
                                                                                Defendants.                          4. BREACH OF EXPRESS
                                                         22                                                             WARRANTY
                                                         23                                                          5. UNJUST ENRICHMENT
                                                         24

                                                         25                                                          JURY TRIAL DEMANDED
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                                                         27             Plaintiffs Steven Prescott and Mike Xavier (“Plaintiffs”), individually and on
                                                         28    behalf of all others similarly situated, as more fully described herein (the “Class” and

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                                                          1    “Class Members”), bring this class action against Defendants Bayer Healthcare
                                                          2    Pharmaceuticals Inc., Bayer Healthcare LLC., Bayer AG, Beiersdorf, Inc., Beiersdorf
                                                          3    North America, Inc., and Beiersdorf AG (collectively “Defendants”), and allege as
                                                          4    follows:
                                                          5                                            NATURE OF THE ACTION
                                                          6             1.      To obtain an unfair competitive advantage in the billion-dollar sunscreen
                                                          7    market, Defendants are exposing babies and children to harmful chemical-based
                                                          8    ingredients hidden in their sunscreens by fraudulently passing them off as safe
                                                          9    mineral-based ingredients. Defendants have reaped many millions of dollars through
                                                         10    this fraudulent scheme based on a calculated business decision to put profits over
                                                         11    people.
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                                                          1             2.      The purported “Mineral-Based” products at issue are Coppertone Water
                                                          2    Babies Mineral-Based Sunscreen Stick (pictured above); Coppertone Water Babies
                                                          3    Mineral-Based Sunscreen Lotion (in various sizes); Coppertone Kids Mineral-Based
                                                          4    Sunscreen Lotion; and Coppertone Sport Face Mineral-Based Sunscreen Lotion
                                                          5    (collectively, the “Products”).
                                                          6             3.      Defendants manufacture, market, advertise, label, and sell the Products
                                                          7    throughout California and the United States.
                                                          8             4.      Contrary to their labeling, the purported mineral-based sunscreen
                                                          9    Products contain chemical active ingredients. In fact, the Products often contain a
                                                         10    larger percentage of chemical active ingredients than mineral active ingredients.
                                                         11             5.       Through falsely, misleadingly, and deceptively labeling the Products,
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                                                         12    Defendants sought to take advantage of consumers’ desire for mineral-based
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                                                         13    sunscreens, while reaping the financial benefits of using less desirable chemical active
                                                         14    ingredients in the Products. Defendants have done so at the expense of unwitting
                                                         15    consumers, as well as Defendants’ lawfully acting competitors, over whom
                                                         16    Defendants maintain an unfair competitive advantage.
                                                         17             6.      As a result, Plaintiffs bring this action individually and on behalf of those
                                                         18    similarly situated, and seek to represent a National Class and a California Subclass
                                                         19    (defined infra). Plaintiffs seek damages, interest thereon, reasonable attorneys’ fees
                                                         20    and costs, restitution, other equitable relief, and disgorgement of all benefits
                                                         21    Defendants have enjoyed from their conduct. In addition, Plaintiffs seek injunctive
                                                         22    relief to stop Defendants’ unlawful conduct in the false, deceptive, and misleading
                                                         23    labeling and marketing of the Products. Plaintiffs make these allegations based on
                                                         24    their personal knowledge and, otherwise, on information and belief based on
                                                         25    investigation of their counsel.
                                                         26             7.      Plaintiffs’ primary litigation objective is to enjoin Defendants’ unlawful
                                                         27    false labeling practices and to obtain restitution for the National Class and California
                                                         28    Subclass.
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                                                          1                                               JURISDICTION
                                                          2             8.      This Court has original jurisdiction over this action pursuant to the Class
                                                          3    Action Fairness Act of 2005, 28 U.S.C. § 1332(d), because the proposed Class
                                                          4    consists of 100 or more members; the amount in controversy exceeds $5,000,000,
                                                          5    exclusive of costs and interest; and minimal diversity exists. This Court also has
                                                          6    supplemental jurisdiction over the state law claims pursuant to 28 U.S.C. § 1367.
                                                          7                                                   VENUE
                                                          8             9.      Venue is proper in this District under 28 U.S.C. § 1391 because a
                                                          9    substantial part of the events and omissions giving rise to Plaintiffs’ claims occurred
                                                         10    in this District. In addition, Plaintiff Prescott purchased the unlawful Product in this
                                                         11    District, and Defendants have marketed, advertised, and sold the Products within this
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                                                         12    District.
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                                                         13                                                  PARTIES
                                                         14    A.      Plaintiffs
                                                         15             10. Plaintiff Steven Prescott, who is currently a resident of Santa Cruz,
                                                         16    California, purchased Coppertone Sport Face Mineral-Based Sunscreen Lotion at a
                                                         17    Rite Aid store in Capitola, California for approximately $8 in 2017. The advertising
                                                         18    and labeling of the Product purchased by Plaintiff Prescott is typical of the advertising
                                                         19    and labeling of the Products purchased by members of the Class. In making his
                                                         20    purchase, Plaintiff Prescott relied upon the claims made on the Product’s advertising
                                                         21    and label. The claims were prepared and approved by Defendants and their agents
                                                         22    and disseminated statewide and nationwide, as well as designed to encourage
                                                         23    consumers to purchase the Product. If Plaintiff had known that the Product contained
                                                         24    chemical active ingredients, he would not have purchased the Product. Plaintiff
                                                         25    would purchase the Product in the future if the advertising and label claims were
                                                         26    accurate.
                                                         27             11. Plaintiff Mike Xavier, who is currently a resident of Roseville, California,
                                                         28    purchased the Coppertone Sports Face Mineral-Based Sunscreen Lotion and the
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                                                          1    Coppertone Kids Mineral-Based Sunscreen Lotion at a Target store in Roseville,
                                                          2    California for approximately $8 on more than one occasion since 2017. The labeling
                                                          3    of the Product purchased by Plaintiff Xavier is typical of the labeling of the Products
                                                          4    purchased by members of the Class. In making his purchase, Plaintiff Xavier relied
                                                          5    upon the claims made on the Product’s advertising and label. The claims were
                                                          6    prepared and approved by Defendants and their agents and disseminated statewide
                                                          7    and nationwide, as well as designed to encourage consumers to purchase the Product.
                                                          8    If Plaintiff had known that the Product contained chemical active ingredients, he
                                                          9    would not have purchased the Product. Plaintiff would purchase the Product in the
                                                         10    future if the advertising and label claims were accurate.
                                                         11    B.      Defendants
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                                                         12             12. Defendant Bayer HealthCare Pharmaceuticals Inc. is a Delaware
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                                                         13    corporation with its principal place of business in Whippany, New Jersey, and was
                                                         14    doing business in the state of California during all relevant times. Directly and
                                                         15    through its agents, Bayer HealthCare Pharmaceuticals has substantial contacts with
                                                         16    and receives substantial benefits and income from and through the State of California.
                                                         17    Bayer HealthCare Pharmaceuticals is one of the owners, manufacturers, or
                                                         18    distributors of the Products, and is one of the companies that created and/or authorized
                                                         19    the false, misleading, and deceptive labeling for the Products.
                                                         20             13. Defendant Bayer HealthCare LLC is a Delaware company with its
                                                         21    principal place of business in Whippany, New Jersey, and was doing business in the
                                                         22    state of California during all relevant times. Directly and through its agents, Bayer
                                                         23    HealthCare LLC has substantial contacts with and receives substantial benefits and
                                                         24    income from and through the State of California. Bayer HealthCare LLC is one of
                                                         25    the owners, manufacturers, or distributors of the Products, and is one of the companies
                                                         26    that created and/or authorized the false, misleading, and deceptive labeling for the
                                                         27    Products.
                                                         28             14. Defendant Bayer AG is the parent company of Defendants Bayer
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                                                          1    HealthCare Pharmaceuticals Inc. and Bayer HealthCare LLC.
                                                          2             15. Defendant Beiersdorf, Inc. is a Delaware corporation with its principal
                                                          3    place of business in Wilton, Connecticut, and was doing business in the state of
                                                          4    California during all relevant times. Directly and through its agents, Beiersdorf, Inc.
                                                          5    has substantial contacts with and receives substantial benefits and income from and
                                                          6    through the State of California. Beiersdorf, Inc. is one of the owners, manufacturers,
                                                          7    or distributors of the Products, and is one of the companies that created and/or
                                                          8    authorized the false, misleading, and deceptive labeling for the Products.
                                                          9             16. Defendant Beiersdorf North America, Inc. is a Delaware corporation with
                                                         10    its principal place of business in Wilton, Connecticut, and was doing business in the
                                                         11    state of California during all relevant times.            Directly and through its agents,
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                                                         12    Beiersdorf North America, Inc. has substantial contacts with and receives substantial
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                                                         13    benefits and income from and through the State of California. Beiersdorf North
                                                         14    America, Inc. is one of the owners, manufacturers, or distributors of the Products, and
                                                         15    is one of the companies that created and/or authorized the false, misleading, and
                                                         16    deceptive labeling for the Products.
                                                         17             17. Defendant Beiersdorf AG is the parent company of Defendants
                                                         18    Beiersdorf, Inc. and Defendant Beiersdorf North America, Inc.
                                                         19             18. In September 2019, Bayer AG sold the Coppertone brand, which includes
                                                         20    the Products, for $550 million to Beiersdorf AG.1
                                                         21             19. The term “Defendants,” as used herein, relates to each individual
                                                         22    Defendant during the time period it was responsible for manufacturing, distributing,
                                                         23    advertising, labeling, and selling the unlawful Products.
                                                         24             20. Defendants acted in concert under a common scheme and aided and
                                                         25    abetted one another in the decision to label and sell the Products in a false, deceptive,
                                                         26    and misleading manner.
                                                         27
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                                                                 See https://media.bayer.com/baynews/baynews.nsf/id/Bayer-completes-sale-of-
                                                         28    iconic-Coppertone-brand-to-Beiersdorf (last visited December 4, 2019).
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                                                          1             21. Defendants and their agents promoted, marketed and sold the Products at
                                                          2    issue in this jurisdiction and in this judicial district. The unfair, unlawful, deceptive,
                                                          3    and misleading advertising and labeling of the Products were prepared and/or
                                                          4    approved by Defendants and their agents, and was disseminated by Defendants and
                                                          5    their agents through labeling and advertising containing the misrepresentations
                                                          6    alleged herein.
                                                          7                                            FACTUAL ALLEGATIONS
                                                          8    A.      Background
                                                          9             22. There are two types of sunscreen products: chemical-based and mineral-
                                                         10    based.       Chemical-based sunscreens contain various synthetic, chemical active
                                                         11    ingredients, such as Octisalate, Octocrylene, and Octinoxate, which protect the skin
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                                                         12    by absorbing ultraviolet (“UV”) radiation and dissipating it as heat.2 Conversely,
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                                                         13    mineral-based sunscreens use mineral active ingredients—specifically, zinc oxide
                                                         14    and/or titanium dioxide—which cover the skin and act as a physical barrier, deflecting
                                                         15    and scattering UV radiation.
                                                         16             23. In recent years, consumers have become increasingly concerned about
                                                         17    using chemical-based sunscreens because chemical active ingredients have been
                                                         18    shown to have adverse health effects, including endocrine disruption, skin irritation,
                                                         19    allergic reactions, and causing the production of dangerous free radicals. One reason
                                                         20    for these deleterious consequences is that chemical active ingredients in sunscreen
                                                         21    can penetrate a person’s skin and enter the bloodstream.
                                                         22             24. The Environmental Working Group (“EWG”) is a nonprofit organization
                                                         23    that specializes in research and advocacy in a number of areas including sunscreens
                                                         24    and their ingredients.                  Regarding certain chemical active ingredients used in
                                                         25    sunscreens, EWG reports:
                                                         26

                                                         27    2
                                                                 “Active” ingredients are those that produce the desired or intended result. In the
                                                         28    case of sunscreens, they are the ingredients that protect the skin from harmful UV
                                                               radiation.
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                                                          1                     Several common chemical filters appear to be endocrine disruptors.
                                                                                Many studies in animals and cells have shown that the chemicals
                                                          2                     affect reproduction and development by altering reproductive and
                                                          3                     thyroid hormones, although the evidence is mixed for some studies
                                                                                (Krause 2012). Animal studies report lower sperm counts and sperm
                                                          4                     abnormalities after oxybenzone and octinoxate exposure; delayed
                                                          5                     puberty after octinoxate exposure; and altered estrous cycling for
                                                                                female mice exposed to oxybenzone. Recently, Danish researchers
                                                          6                     reported that eight of 13 chemical sunscreen ingredients allowed in
                                                          7                     the U.S. affected calcium signaling of male sperm cells in laboratory
                                                                                tests, which the researchers suggest could reduce male fertility
                                                          8                     (Endocrine Society 2016).3
                                                          9
                                                                        25. In fact, state lawmakers in Hawaii recently banned two chemical
                                                         10
                                                               sunscreen ingredients, Octinoxate and Oxybenzone. In explaining its decision to ban
                                                         11
                                                               those ingredients, the Hawaii legislature stated:
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                                                         13                     Oxybenzone and octinoxate cause mortality in developing coral;
                                                                                increase coral bleaching that indicates extreme stress, even at
                                                         14                     temperatures below 87.8 degrees Fahrenheit; and cause genetic
                                                         15                     damage to coral and other marine organisms. These chemicals have
                                                                                also been shown to degrade corals’ resiliency and ability to adjust to
                                                         16                     climate change factors and inhibit recruitment of new
                                                         17                     corals. Furthermore, oxybenzone and octinoxate appear to increase
                                                                                the probability of endocrine disruption. Scientific studies show that
                                                         18                     both chemicals can induce feminization in adult male fish and
                                                         19                     increase reproductive diseases in marine invertebrate species (e.g.,
                                                                                sea urchins), vertebrate species (e.g., fish such as wrasses, eels, and
                                                         20                     parrotfish), and mammals (in species similar to the Hawaiian monk
                                                         21                     seal). The chemicals also induce deformities in the embryonic
                                                                                development of fish, sea urchins, coral, and shrimp and induce
                                                         22                     neurological behavioral changes in fish that threaten the continuity
                                                         23                     of fish populations. In addition, species that are listed on the federal
                                                                                Endangered Species Act and inhabit Hawaii's waters, including sea
                                                         24                     turtle species, marine mammals, and migratory birds, may be
                                                         25                     exposed to oxybenzone and octinoxate contamination.4
                                                         26
                                                                        26. In addition, in February 2019, the U.S. Food and Drug Administration
                                                         27

                                                         28    3
                                                                   https://www.ewg.org/sunscreen/report/the-trouble-with-sunscreen-chemicals/.
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                                                                   https://legiscan.com/HI/text/SB2571/2018.
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                                                          1    issued a proposed rule that would update regulatory requirements for most sunscreen
                                                          2    products in the United States.5 In fashioning the proposed rule, the FDA determined
                                                          3    that for 12 of the 16 currently marketed active ingredients in sunscreens, including
                                                          4    Octisalate, Octocrylene, and Octinoxate, there is insufficient safety data to make a
                                                          5    positive GRASE [Generally Recognized As Safe and Effective] determination, which
                                                          6    is a designation that the FDA gives a substance when qualified experts consider it
                                                          7    generally safe for its intended use.6 And all 12 of these questionable ingredients are
                                                          8    chemical active ingredients.7 The FDA further noted that “[a] number of these
                                                          9    [chemical] active ingredients have also shown hormonal effects in mammalian assays
                                                         10    (homosalate (Refs. 86 to 92)) and padimate O (64 FR 27666 at 27671) and in in vitro
                                                         11    and in vivo assays (homosalate (Refs. 86 to 92), octinoxate (Refs. 93 and 94), and
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                                                         12    octocrylene (Ref. 95).”8
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                                                         13             27. On the other hand, according to the FDA, the only two active ingredients
                                                         14    for which there exists sufficient information to make a positive GRASE determination
                                                         15    were zinc oxide and titanium dioxide—the only two active ingredients used in
                                                         16    sunscreens that are of mineral composition, rather than chemical composition.9
                                                         17             28. Consequently, because of concerns about chemical-based sunscreens,
                                                         18    consumers have increasingly sought out mineral-based sunscreens, the sales of which
                                                         19    have surged in recent years. This is particularly true among consumers of sunscreens
                                                         20    intended for use on babies and children.
                                                         21             29. For example, Trader Joe’s sells a Non-Nano Zinc Oxide Mineral
                                                         22    Sunscreen Stick.10 The Trader Joe’s product contains one active ingredient, Zinc
                                                         23
                                                               5
                                                         24       See https://www.federalregister.gov/documents/2019/02/26/2019-
                                                               03019/sunscreen-drug-products-for-over-the-counter-human-use. See also
                                                         25    https://www.fda.gov/news-events/press-announcements/fda-advances-new-
                                                               proposed-regulation-make-sure-sunscreens-are-safe-and-effective.
                                                               6
                                                         26       Id.
                                                               7
                                                                  Id.
                                                         27    8
                                                                  https://www.federalregister.gov/documents/2019/02/26/2019-03019/sunscreen-
                                                               drug-products-for-over-the-counter-human-use.
                                                         28    9
                                                                  Id.
                                                               10
                                                                  https://www.traderjoes.com/digin/post/mineral-sunscreen-stick.
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                                                          1    Oxide, which is mineral based. Unlike Defendants’ Products, it does not contain any
                                                          2    chemical active ingredients.
                                                          3             30. Defendants have expressly recognized consumers’ concerns about the
                                                          4    chemical active ingredients used in the sunscreens. Defendants claim that they “listen
                                                          5    to what our consumers, like you, want from them” and “[w]hat you want matters.
                                                          6    That’s why our scientists have been actively working to develop new formulations of
                                                          7    Coppertone (SPF 50 and less) that don’t include oxybenzone and octinoxate. . . .
                                                          8    [S]ome of our consumers are asking for their removal and we are listening.”11
                                                          9    B.       The Products’ Misleading and Deceptive Labeling
                                                         10             31. As described supra, Defendants manufacture, market, advertise, label,
                                                         11    and sell Coppertone Water Babies Mineral-Based Sunscreen Lotion (in various sizes);
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                                                         12    Coppertone Water Babies Mineral-Based Sunscreen Stick; Coppertone Kids Mineral-
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                                                         13    Based Sunscreen Lotion; and Coppertone Sport Face Mineral-Based Sunscreen
                                                         14    Lotion.
                                                         15             32. Images of the Products are as follows:
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                                                         17    ///
                                                         18    ///
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                                                                     https://www.coppertone.com/sunfacts/scienceandtesting/index.html.
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                                                          1    Coppertone Water Babies Mineral-Based Sunscreen Lotion (in various sizes)
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                                                          1    Coppertone Water Babies Mineral-Based Sunscreen Stick
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                                                          1    Coppertone Kids Mineral-Based Sunscreen Lotion
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                                                          1    Coppertone Sport Face Mineral-Based Sunscreen Lotion
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                                                          1             33. Defendants prominently and uniformly label the front display panel of the
                                                          2    Mineral-Based Products with the label “Mineral-Based.” The labels are set against—
                                                          3    and highlighted by—an eye-catching, polished-silver background or font color.
                                                          4             34. Based on the “Mineral-Based” representations, reasonable consumers
                                                          5    believe the Products contain only active mineral ingredients.           Put differently,
                                                          6    reasonable consumers do not believe the Products contain any active synthetic
                                                          7    chemical ingredients. This understanding is further reinforced by the fact that nearly
                                                          8    all sunscreens on the market that are advertised as mineral or mineral-based contain
                                                          9    only active mineral ingredients.
                                                         10             35. However, in spite of the labeling, and despite Defendants’ claim that they
                                                         11    are “committed to . . . truth in labeling[,]”12 the Products actually contain, in varying
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                                                         12    combinations, the active chemical ingredients Octinoxate (banned in Hawaii),
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                                                         13    Octocrylene, and Octisalate, in addition to Zinc Oxide.13
                                                         14             36. In the Coppertone Water Babies Mineral-Based Sunscreen Stick Products
                                                         15    and the Coppertone Sport Face Mineral-Based Sunscreen Lotion Products, the
                                                         16    chemical active ingredients comprise a larger percentage of the Products than the
                                                         17    mineral active ingredients:
                                                         18             Water Babies Mineral-Based Sunscreen Stick Products:
                                                         19               Chemical Active Ingredients: 17.5%
                                                                          Mineral Active Ingredients: 15%
                                                         20
                                                                        Sport Face Mineral-Based Sunscreen Lotion Products:
                                                         21                Chemical Active Ingredients: 12%
                                                         22                Mineral Active Ingredients: 9.7%
                                                         23
                                                                        37. As for the remaining Products (Water Babies Mineral-Based Sunscreen
                                                         24
                                                               Lotion and Kids Mineral-Based Sunscreen Lotion), the percentage of chemical active
                                                         25
                                                               ingredients is nearly equal to the percentage of mineral active ingredients (12.5%
                                                         26

                                                         27
                                                               12
                                                                 https://www.coppertone.com/sunfacts/scienceandtesting/index.html.
                                                         28    13
                                                                 See Exhibit A, describing the Products’ active ingredients and their respective
                                                               percentages.
                                                                                                                 15
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                                                          1    chemical vs. 14.5% mineral), despite the Products being labeled as “Mineral-Based.”
                                                          2             38. Labeling the Products as “Mineral-Based” when they contain any
                                                          3    chemical active ingredients is wholly misleading and deceptive. Worse, however, is
                                                          4    Defendants’ practice of labeling the Products as “mineral-based” where the
                                                          5    percentage of mineral active ingredients is actually less than, or nearly equal to, the
                                                          6    percentage of chemical active ingredients.
                                                          7             39. By misleadingly and deceptively labeling the Products, as described
                                                          8    herein, Defendants sought to take advantage of consumers’ desire for true mineral-
                                                          9    based sunscreens.             And Defendants have done so at the expense of unwitting
                                                         10    consumers—many of whom seek to protect their babies and children—and
                                                         11    Defendants’ lawfully acting competitors, over whom Defendants have an unfair
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                                                         12    competitive advantage.
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                                                         13             40. True mineral-based sunscreens generally contain a significantly higher
                                                         14    percentage of mineral active ingredients—often 20-24%—than the Products, and they
                                                         15    do not contain any chemical active ingredients. Furthermore, the cost of chemical
                                                         16    active ingredients is less than the cost of mineral active ingredients. Therefore, by
                                                         17    using cheaper chemical active ingredients in lieu of mineral active ingredients, on
                                                         18    information and belief, Defendants reduced their manufacturing costs and increased
                                                         19    their profits.
                                                         20    C.      Plaintiffs Purchased the Misleading and Deceptive Products
                                                         21             41. As described supra, Plaintiffs purchased the Products in Northern
                                                         22    California. Plaintiff Xavier purchased the Product in Roseville, California, and
                                                         23    Plaintiff Prescott purchased the Product in Capitola, California.
                                                         24             42. The Mineral-Based representations were and are material to reasonable
                                                         25    consumers, including Plaintiffs, in making purchasing decisions.
                                                         26             43. Plaintiffs relied on Defendants’ misrepresentations, described herein, in
                                                         27    making the decision to purchase the Products.
                                                         28             44. At the time Plaintiffs purchased the Products, Plaintiffs did not know, and
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                                                         1     had no reason to know, that the Products’ labeling and advertising were false,
                                                         2     misleading, deceptive, and unlawful as set forth herein.
                                                         3              45. Defendants materially misled and failed to adequately inform
                                                         4     reasonable consumers, including Plaintiffs, that the Products contained chemical
                                                         5     active ingredients.
                                                         6              46. Plaintiffs would not have purchased the Products if they had known
                                                         7     the truth. Accordingly, based on Defendants’ material misrepresentations and
                                                         8     omissions, reasonable consumers, including Plaintiffs, purchased the Products to
                                                         9     their detriment.
                                                         10             47. It is possible, however, that Plaintiffs would purchase the Products in
                                                         11    the future if they were properly labeled, and/or the ingredients complied with the
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                                                         12    labeling and advertising statements. Specifically, Plaintiffs would consider
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                                                         13    purchasing the Products again if the Products only contained mineral active
                                                         14    ingredients, and no longer contained chemical active ingredients.
                                                         15                                   CLASS ACTION ALLEGATIONS
                                                         16             48. Plaintiffs bring this action as a class action pursuant to Federal Rules
                                                         17    of Civil Procedure 23(b)(2) and 23(b)(3) on behalf of themselves and all others
                                                         18    similarly situated, and as members of the Classes defined as follows:
                                                         19
                                                                                All residents of the United States who, within the relevant statute of
                                                         20                     limitations periods, purchased the Products (“Nationwide Class”); and
                                                         21
                                                                                All residents of California who, within four years prior to the filing of
                                                         22                     this Complaint, purchased the Products (“California Subclass”).
                                                         23    (“Nationwide Class” and “California Subclass,” collectively, “Class”).
                                                         24             49. Excluded from the Class are: (i) Defendants, their assigns, successors,
                                                         25    and legal representatives; (ii) any entities in which Defendants have controlling
                                                         26    interests; (iii) federal, state, and/or local governments, including, but not limited
                                                         27    to, their departments, agencies, divisions, bureaus, boards, sections, groups,
                                                         28    counsels, and/or subdivisions; (iv) all persons presently in bankruptcy proceedings
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                                                          1    or who obtained a bankruptcy discharge in the last three years; and (v) any judicial
                                                          2    officer presiding over this matter and person within the third degree of consanguinity
                                                          3    to such judicial officer.
                                                          4             50. Plaintiffs reserve the right to amend or otherwise alter the class definitions
                                                          5    presented to the Court at the appropriate time in response to facts learned through
                                                          6    discovery, legal arguments advanced by Defendants, or otherwise.
                                                          7             51. This action is properly maintainable as a class action pursuant to Federal
                                                          8    Rule of Civil Procedure 23 for the reasons set forth below.
                                                          9             52. Numerosity: Members of the Class are so numerous that joinder of all
                                                         10    members is impracticable. Upon information and belief, the Nationwide Class
                                                         11    consists of tens of thousands of purchasers (if not more) dispersed throughout the
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                                                         12    United States, and the California Subclass likewise consists of thousands of
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                                                         13    purchasers (if not more) dispersed throughout the State of California. Accordingly,
                                                         14    it would be impracticable to join all members of the Class before the Court.
                                                         15             53. Common Questions Predominate: There are numerous and substantial
                                                         16    questions of law or fact common to all members of the Class that predominate over
                                                         17    any individual issues. Included within the common questions of law or fact are:
                                                         18            a. Whether Defendants engaged in unlawful, unfair or deceptive business
                                                         19                practices by advertising and selling the Products;
                                                         20                     A.       Whether Defendants’ conduct constitutes an unfair method of
                                                         21                              competition, or unfair or deceptive act or practice, in violation of
                                                         22                              Civil Code section 1750, et seq.;
                                                         23                     B.       Whether Defendants used deceptive representations in connection
                                                         24                              with the sale of the Products in violation of Civil Code section
                                                         25                              1750, et seq.;
                                                         26                     C.       Whether Defendants represented the Products have characteristics
                                                         27                              or quantities that they do not have in violation of Civil Code section
                                                         28                              1750, et seq.;
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                                                          1                     D.       Whether Defendants advertised the Products with intent not to sell
                                                          2                              them as advertised in violation of Civil Code section 1750, et seq.;
                                                          3                     E.       Whether Defendants’ labeling and advertising of the Products are
                                                          4                              untrue or misleading in violation of Business and Professions Code
                                                          5                              section 17500, et seq.;
                                                          6                     F.       Whether Defendants knew or by the exercise of reasonable care
                                                          7                              should have known their labeling and advertising was and is untrue
                                                          8                              or misleading in violation of Business and Professions Code
                                                          9                              section 17500, et seq.;
                                                         10                     G.       Whether Defendants’ conduct is an unfair business practice within
                                                         11                              the meaning of Business and Professions Code section 17200, et
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                                                         12                              seq.;
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                                                         13                     H.       Whether Defendants’ conduct is a fraudulent business practice
                                                         14                              within the meaning of Business and Professions Code section
                                                         15                              17200, et seq.;
                                                         16                     I.       Whether Defendants’ conduct is an unlawful business practice
                                                         17                              within the meaning of Business and Professions Code section
                                                         18                              17200, et seq.;
                                                         19                     J.       Whether Plaintiffs and the Class paid more money for the Products
                                                         20                              than they actually received;
                                                         21                     K.       How much money Plaintiffs and the Class paid for the Products
                                                         22                              than they actually received;
                                                         23            b. Whether Defendants’ conduct constitutes breach of express warranty;
                                                         24            c. Whether Plaintiffs and the Class are entitled to equitable and/or injunctive
                                                         25                relief;
                                                         26            d. Whether Plaintiffs and the Class have sustained damages as a result of
                                                         27                Defendants’ unlawful conduct;
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                                                          1            e. The proper measure of damages sustained by Plaintiffs and Class Members;
                                                          2                 and
                                                          3            f. Whether Defendants were unjustly enriched by their unlawful conduct.
                                                          4             54. Typicality: Plaintiffs’ claims are typical of the claims of the Class
                                                          5    Members they seek to represent because Plaintiffs, like the Class Members, purchased
                                                          6    Defendants’ misleading and deceptive Products. Defendants’ unlawful, unfair and/or
                                                          7    fraudulent actions concern the same business practices described herein irrespective
                                                          8    of where they occurred or were experienced. Plaintiffs and the Class sustained similar
                                                          9    injuries arising out of Defendants’ conduct. Plaintiffs’ and Class Members’ claims
                                                         10    arise from the same practices and course of conduct and are based on the same legal
                                                         11    theories.
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                                                         12             55. Adequacy: Plaintiffs are adequate representatives of the Class they seek
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                                                         13    to represent because their interests do not conflict with the interests of the Class
                                                         14    Members Plaintiffs seek to represent. Plaintiffs will fairly and adequately protect
                                                         15    Class Members’ interests and have retained counsel experienced and competent in the
                                                         16    prosecution of complex class actions, including complex questions that arise in
                                                         17    consumer protection litigation.
                                                         18             56. Superiority and Substantial Benefit: A class action is superior to other
                                                         19    methods for the fair and efficient adjudication of this controversy, since individual
                                                         20    joinder of all members of the Class is impracticable and no other group method of
                                                         21    adjudication of all claims asserted herein is more efficient and manageable for at least
                                                         22    the following reasons:
                                                         23
                                                                       a.       The claims presented in this case predominate over any questions of law
                                                         24                     or fact, if any exist at all, affecting any individual member of the Class;
                                                         25
                                                                       b.       Absent a Class, the members of the Class will continue to suffer damage
                                                         26                     and Defendants’ unlawful conduct will continue without remedy while
                                                         27                     Defendants profit from and enjoy their ill-gotten gains;

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                                                          1            c.       Given the size of individual Class Members’ claims, few, if any, Class
                                                                                Members could afford to or would seek legal redress individually for the
                                                          2                     wrongs Defendants committed against them, and absent Class Members
                                                          3                     have no substantial interest in individually controlling the prosecution of
                                                                                individual actions;
                                                          4

                                                          5            d.       When the liability of Defendants has been adjudicated, claims of all
                                                                                members of the Class can be administered efficiently and/or determined
                                                          6                     uniformly by the Court; and
                                                          7
                                                                       e.       This action presents no difficulty that would impede its management by
                                                          8                     the Court as a class action, which is the best available means by which
                                                          9                     Plaintiffs and Class Members can seek redress for the harm caused to
                                                                                them by Defendants.
                                                         10

                                                         11             57. Because Plaintiffs seek relief for all members of the Class, the prosecution
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                                                         12    of separate actions by individual members would create a risk of inconsistent or
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                                                         13    varying adjudications with respect to individual members of the Class, which would
                                                         14    establish incompatible standards of conduct for Defendants.
                                                         15             58. The prerequisites to maintaining a class action for injunctive or equitable
                                                         16    relief pursuant to Fed. R. Civ. P. 23(b)(2) are met as Defendants have acted or refused
                                                         17    to act on grounds generally applicable to the Class, thereby making appropriate final
                                                         18    injunctive or equitable relief with respect to the Class as a whole.
                                                         19             59. Plaintiffs and Plaintiffs’ counsel are unaware of any difficulties that are
                                                         20    likely to be encountered in the management of this action that would preclude its
                                                         21    maintenance as a class action.
                                                         22                                                  COUNT I
                                                         23                           Violation of California Unfair Competition Law,
                                                         24                             Business and Professions Code § 17200, et. seq.
                                                         25                                    (On Behalf of the California Subclass)
                                                         26             60. Plaintiffs re-allege and incorporate by reference the allegations contained
                                                         27    in the preceding paragraphs of this complaint, as though fully set forth herein.
                                                         28             61. Plaintiffs bring this claim individually and on behalf of the California
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                                                          1    Subclass.
                                                          2             62. Defendants’ conduct constitutes an unfair business act and practice
                                                          3    pursuant to California Business & Professions Code §§ 17200, et seq. (the “UCL”).
                                                          4    The UCL provides, in pertinent part: “Unfair competition shall mean and include
                                                          5    unlawful, unfair or fraudulent business practices and unfair, deceptive, untrue or
                                                          6    misleading advertising[.]”
                                                          7             63. Plaintiffs bring this claim seeking equitable and injunctive relief to stop
                                                          8    Defendants’ misconduct, as complained of herein, and to seek restitution of the
                                                          9    amounts Defendants acquired through the unfair, unlawful, and fraudulent business
                                                         10    practices described herein.
                                                         11             64. Defendants’ knowing conduct, as alleged herein, constitutes an “unfair”
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                                                         12    and/or “fraudulent” business practice, as set forth in California Business &
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                                                         13    Professions Code §§ 17200-17208.
                                                         14             65. Defendants’ conduct was and continues to be unfair and fraudulent
                                                         15    because, directly or through their agents and employees, Defendants made uniform
                                                         16    materially false representations and omissions, as described more fully supra.
                                                         17    Defendants were and are aware that the representations and omissions they have made
                                                         18    about the Products were and continue to be false and misleading.
                                                         19             66. Defendants had an improper motive—to derive financial gain at the
                                                         20    expense of accuracy or truthfulness—in their practices related to the labeling and
                                                         21    advertising of the Products.
                                                         22             67. There were reasonable alternatives available to Defendants to further
                                                         23    Defendants’ legitimate business interests, other than the conduct described herein.
                                                         24             68. Defendants’ misrepresentations of material facts, as set forth herein, also
                                                         25    constitute an “unlawful” practice because they violate California Civil Code §§ 1572,
                                                         26    1573, 1709, 1710, 1711, and 1770, as well as the common law.
                                                         27             69. Defendants’ conduct in making the representations described herein
                                                         28    constitutes a knowing failure to adopt policies in accordance with and/or adherence
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                                                          1    to applicable laws, as set forth herein, all of which are binding upon and burdensome
                                                          2    to its competitors. This conduct engenders an unfair competitive advantage for
                                                          3    Defendants, thereby constituting an unfair business practice under California
                                                          4    Business & Professions Code §§ 17200-17208.
                                                          5             70. In addition, Defendants’ conduct was, and continues to be, unfair, in that
                                                          6    its injury to countless purchasers of the Products is substantial, and is not outweighed
                                                          7    by any countervailing benefits to consumers or to competitors.
                                                          8             71. Moreover, Plaintiffs and members of the California Subclass could not
                                                          9    have reasonably avoided such injury. Defendants’ uniform, material representations
                                                         10    and omissions regarding the Products were likely to deceive, and Defendants knew
                                                         11    or should have known that their representations and omissions were untrue and
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                                                         12    misleading. Plaintiffs purchased the Products in reliance on the representations made
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                                                         13    by Defendants, as alleged herein.
                                                         14             72. Plaintiffs and members of the California Subclass have been directly and
                                                         15    proximately injured by Defendants’ conduct in ways including, but not limited to, the
                                                         16    monies paid to Defendants for the Products that lacked the characteristics advertised,
                                                         17    interest lost on those monies, and consumers’ unwitting support of a business
                                                         18    enterprise that promotes deception and undue greed to the detriment of consumers,
                                                         19    such as Plaintiffs and Subclass members
                                                         20             73. As a result of the business acts and practices described above, Plaintiffs
                                                         21    and members of the California Subclass, pursuant to § 17203, are entitled to an order
                                                         22    enjoining such future wrongful conduct on the part of Defendants and such other
                                                         23    orders and judgments that may be necessary to disgorge Defendants’ ill-gotten gains
                                                         24    and to restore to any person in interest any money paid for the Products as a result of
                                                         25    the wrongful conduct of Defendants.
                                                         26             74. Pursuant to Civil Code § 3287(a), Plaintiffs and the California Subclass
                                                         27    are further entitled to pre-judgment interest as a direct and proximate result of
                                                         28    Defendants’ unfair and fraudulent business conduct. The amount on which interest is
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                                                          1    to be calculated is a sum certain and capable of calculation, and Plaintiffs and the
                                                          2    California Subclass are entitled to interest in an amount according to proof.
                                                          3                                                  COUNT II
                                                          4                             Violation of California False Advertising Law,
                                                          5                             Business and Professions Code § 17500, et. seq.
                                                          6                                    (On Behalf of the California Subclass)
                                                          7             75. Plaintiffs re-allege and incorporate by reference the allegations contained
                                                          8    in the preceding paragraphs of this complaint, as though fully set forth herein.
                                                          9             76. Plaintiffs bring this claim individually and on behalf of the California
                                                         10    Subclass.
                                                         11             77. California Business & Professions Code § 17500 prohibits “unfair,
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                                                         12    deceptive, untrue or misleading advertising[.]”
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                                                         13             78. Defendants violated § 17500 when they represented, through their false
                                                         14    and misleading advertising and other express representations, that Defendants’
                                                         15    Products possessed characteristics and value that they did not actually have.
                                                         16             79. Defendants’ deceptive practices were specifically designed to induce
                                                         17    reasonable consumers like Plaintiffs to purchase the Products. Defendants’ uniform,
                                                         18    material representations and omissions regarding the Products were likely to deceive,
                                                         19    and Defendants knew or should have known that their uniform representations and
                                                         20    omissions were untrue and misleading. Plaintiffs purchased the Products in reliance
                                                         21    on the representations made by Defendants, as alleged herein.
                                                         22             80. Plaintiffs and members of the California Subclass have been directly and
                                                         23    proximately injured by Defendants’ conduct in ways including, but not limited to, the
                                                         24    monies paid to Defendants for the Products that lacked the characteristics advertised,
                                                         25    interest lost on those monies, and consumers’ unwitting support of a business
                                                         26    enterprise that promotes deception and undue greed to the detriment of consumers,
                                                         27    such as Plaintiffs and Subclass members.
                                                         28             81. The above acts of Defendants, in disseminating materially misleading and
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                                                          1    deceptive representations and statements throughout California to consumers,
                                                          2    including Plaintiffs and members of the California Subclass, were and are likely to
                                                          3    deceive reasonable consumers in violation of § 17500.
                                                          4             82. In making and disseminating the statements alleged herein, Defendants
                                                          5    knew or should have known that the statements were untrue or misleading, and acted
                                                          6    in violation of § 17500.
                                                          7             83. Defendants continue to engage in unlawful, unfair and deceptive practices
                                                          8    in violation of §17500.
                                                          9             84. As a direct and proximate result of Defendants’ unlawful conduct in
                                                         10    violation of § 17500, Plaintiffs and members of the California Subclass, pursuant to
                                                         11    § 17535, are entitled to an order of this Court enjoining such future wrongful conduct
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                                                         12    on the part of Defendants, and requiring Defendants to disclose the true nature of their
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                                                         13    misrepresentations.
                                                         14             85. Plaintiffs and members of the California Subclass also request an order
                                                         15    requiring Defendants to disgorge their ill-gotten gains and/or award full restitution of
                                                         16    all monies wrongfully acquired by Defendants by means of such acts of false
                                                         17    advertising, plus interests and attorneys’ fees.
                                                         18                                                 COUNT III
                                                         19                      Violation of California Consumers Legal Remedies Act,
                                                         20                                     California Civil Code § 1750, et. seq.
                                                         21                                    (On Behalf of the California Subclass)
                                                         22             86. Plaintiffs re-allege and incorporate by reference the allegations contained
                                                         23    in the preceding paragraphs of this complaint, as though fully set forth herein.
                                                         24             87. Plaintiffs bring this claim individually and on behalf of the California
                                                         25    Subclass.
                                                         26             88. Plaintiffs bring this action pursuant to California’s Consumers Legal
                                                         27    Remedies Act (“CLRA”), Cal. Civ. Code § 1750, et seq.
                                                         28             89. The CLRA provides that “unfair methods of competition and unfair or
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                                                          1    deceptive acts or practices undertaken by any person in a transaction intended to result
                                                          2    or which results in the sale or lease of goods or services to any consumer are
                                                          3    unlawful.”
                                                          4             90. The Products are “goods,” as defined by the CLRA in California Civil
                                                          5    Code §1761(a).
                                                          6             91. Defendants are “persons,” as defined by the CLRA in California Civil
                                                          7    Code §1761(c).
                                                          8             92. Plaintiffs and members of the California Subclass are “consumers,” as
                                                          9    defined by the CLRA in California Civil Code §1761(d).
                                                         10             93. Purchase of the Products by Plaintiffs and members of the California
                                                         11    Subclass are “transactions,” as defined by the CLRA in California Civil Code
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                                                         12    §1761(e).
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                                                         13             94. Defendants violated Section 1770(a)(5) by representing that the Products
                                                         14    have “characteristics, . . . uses [or] benefits . . . which [they] do not have” in that the
                                                         15    Products are falsely labeled and advertised as being, among other things, mineral-
                                                         16    based. Defendants knew that consumers will often pay more for products with this
                                                         17    attribute and have unfairly profited from their false and misleading claims.
                                                         18             95. Similarly, Defendants violated section 1770(a)(7) by representing that the
                                                         19    Products “are of a particular standard, quality, or grade . . . if they are of another” by
                                                         20    falsely and deceptively labeling and advertising the Products as, among other things,
                                                         21    being mineral-based.
                                                         22             96. In addition, Defendants violated section 1770(a)(9) by advertising the
                                                         23    Products “with intent not to sell them as advertised” in that the Products are falsely
                                                         24    labeled and advertised as, among other things, being mineral-based.
                                                         25             97. Defendants’ uniform and material representations and omissions
                                                         26    regarding the Products were likely to deceive, and Defendants knew or should have
                                                         27    known that their representations and omissions were untrue and misleading.
                                                         28             98. Plaintiffs and members of the California Subclass could not have
                                                                                                                 26
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                                                          1    reasonably avoided such injury. Plaintiffs and members of the California Subclass
                                                          2    were unaware of the existence of the facts that Defendants suppressed and failed to
                                                          3    disclose; and, Plaintiffs and members of the California Subclass would not have
                                                          4    purchased the Products and/or would have purchased them on different terms had
                                                          5    they known the truth.
                                                          6             99. Plaintiffs and members of the California Subclass have been directly and
                                                          7    proximately injured by Defendants’ conduct. Such injury includes, but is not limited
                                                          8    to, the purchase price of the Products and/or the price of the Products at the prices at
                                                          9    which they were offered.
                                                         10             100. Given that Defendants’ conduct violated § 1770(a), Plaintiffs and
                                                         11    members of the California Subclass are entitled to seek and seek injunctive relief to
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                                                         12    put an end to Defendants’ violations of the CLRA.
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                                                         13             101. Moreover, Defendants’ conduct is malicious, fraudulent, and wanton in
                                                         14    that Defendants intentionally misled and withheld material information from
                                                         15    consumers to increase the sale of the Products.
                                                         16             102. Pursuant to California Civil Code § 1782(a), Defendants have been
                                                         17    notified of the alleged violations of the Consumers Legal Remedies Act. Defendants
                                                         18    failed to provide appropriate relief for violations of the CLRA. As such, Plaintiffs
                                                         19    also seek compensatory, monetary and punitive damages, in addition to equitable and
                                                         20    injunctive relief, and request that this Court enter such orders or judgments as may be
                                                         21    necessary to restore to any person in interest any money that may have been acquired
                                                         22    by means of such unfair business practices, and for such other relief as is provided in
                                                         23    California Civil Code § 1780 and in the Prayer for Relief.
                                                         24             103. Plaintiffs further request that the Court enjoin Defendants from
                                                         25    continuing to employ the unlawful methods, acts, and practices alleged herein
                                                         26    pursuant to § 1780(a)(2).
                                                         27    ///
                                                         28    ///
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                                                          1                                                   COUNT IV
                                                          2                                            Breach of Express Warranty
                                                          3                   (On Behalf of the Nationwide Class and California Subclass)
                                                          4             104. Plaintiffs re-allege and incorporate by reference the allegations contained
                                                          5    in the preceding paragraphs of this complaint, as though fully set forth herein.
                                                          6             105. Plaintiffs bring this claim individually and on behalf of the Nationwide
                                                          7    Class and California Subclass.
                                                          8             106. By advertising and selling the Products at issue, Defendants made
                                                          9    promises and affirmations of fact on the Products’ packaging and labeling, and
                                                         10    through their marketing and advertising, as described herein. This labeling and
                                                         11    advertising constitutes express warranties and became part of the basis of the bargain
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                                                         12    between Plaintiffs and members of the Class, and Defendants.
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                                                         13             107. Defendants purport, through the Products’ labeling and advertising, to
                                                         14    create express warranties that the Products are, among other things, mineral-based.
                                                         15             108. Despite Defendants’ express warranties about the nature of the Products,
                                                         16    the Products are not mineral-based, and the Products are, therefore, not what
                                                         17    Defendants represented them to be.
                                                         18             109. Accordingly, Defendants breached express warranties about the Products
                                                         19    and their qualities because the Products do not conform to Defendants’ affirmations
                                                         20    and promises.
                                                         21             110. As a direct and proximate result of Defendants’ breach of express
                                                         22    warranty, Plaintiffs and members of the Class were harmed in the amount of the
                                                         23    purchase price they paid for the Products. Further, Plaintiffs and members of the
                                                         24    Class have suffered and continue to suffer economic losses and other damages
                                                         25    including, but not limited to, the amounts paid for the Products, and any interest that
                                                         26    would have accrued on those monies, in an amount to be proven at trial.
                                                         27    ///
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                                                          1                                                  COUNT V
                                                          2                                              Unjust Enrichment
                                                          3                   (On Behalf of the Nationwide Class and California Subclass)
                                                          4             111. Plaintiffs repeat and re-allege the allegations of the preceding paragraphs
                                                          5    as if fully set forth herein.
                                                          6             112. Plaintiffs bring this claim individually and on behalf of the Nationwide
                                                          7    Class and California Subclass.
                                                          8             113. By purchasing the Products, Plaintiffs and members of the Class
                                                          9    conferred a benefit on Defendants in the form of the purchase price of the Products.
                                                         10             114. Defendants had knowledge of such benefit.
                                                         11             115. Defendants appreciated the benefit because, were consumers not to
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                                                         12    purchase the Products, Defendants would not generate revenue from the sales of the
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                                                         13    Products.
                                                         14             116. Defendants’ acceptance and retention of the benefit is inequitable and
                                                         15    unjust because the benefit was obtained by Defendants’ fraudulent and misleading
                                                         16    representations and omissions.
                                                         17             117. Equity cannot in good conscience permit Defendants to be economically
                                                         18    enriched for such actions at the expense of Plaintiffs and members of the Class, and
                                                         19    therefore restitution and/or disgorgement of such economic enrichment is required.
                                                         20                                            PRAYER FOR RELIEF
                                                         21             118. WHEREFORE, Plaintiffs, individually and on behalf of all others
                                                         22    similarly situated, pray for judgment against Defendants as follows:
                                                         23

                                                         24                a. For an order certifying the Nationwide Class and the California Subclass
                                                                              under Rule 23 of the Federal Rules of Civil Procedure; naming Plaintiffs
                                                         25                   as representatives of the Nationwide Class and California Subclass; and
                                                         26                   naming Plaintiffs’ attorneys as Class Counsel to represent the Nationwide
                                                                              Class and California Subclass;
                                                         27
                                                                           b. For an order declaring that Defendants’ conduct violates the statutes and
                                                         28
                                                                              laws referenced herein;
                                                                                                                 29
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                                                          1                c. For an order awarding, as appropriate, compensatory and monetary
                                                                              damages, restitution or disgorgement to Plaintiffs and the Class for all
                                                          2                   causes of action;
                                                          3
                                                                           d. For an order requiring Defendants to immediately cease and desist from
                                                          4                   selling the unlawful Products in violation of law; enjoining Defendants
                                                                              from continuing to market, advertise, distribute, and sell the Products in
                                                          5
                                                                              the unlawful manner described herein; and ordering Defendants to engage
                                                          6                   in corrective action;
                                                          7                e. For an order awarding attorneys’ fees and costs;
                                                          8
                                                                           f. For an order awarding punitive damages;
                                                          9
                                                                           g. For an order awarding pre-and post-judgment interest; and
                                                         10
                                                                           h. For such other and further relief as the Court deems just and proper.
                                                         11
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                                                         12
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                                                                                                       DEMAND FOR JURY TRIAL
                                                         13
                                                                       Plaintiffs hereby demand trial by jury on all causes of action.
                                                         14
                                                                Dated: January 3, 2020
                                                         15                                                      Respectfully submitted,
                                                         16                                                      CLARKSON LAW FIRM
                                                                                                                 By:
                                                         17

                                                         18
                                                                                                                        SHIREEN M. CLARKSON
                                                         19                                                             RYAN J. CLARKSON
                                                                                                                        CELINE COHAN
                                                         20
                                                                                                                        Attorneys for Plaintiffs
                                                         21

                                                         22                                                      MOON LAW APC
                                                                                                                 By:
                                                         23

                                                         24

                                                         25
                                                                                                                        CHRISTOPHER D. MOON
                                                         26                                                             KEVIN O. MOON
                                                         27                                                             Attorneys for Plaintiffs
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